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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA

__________________________________________
                                          )                MDL No. 2179
In re: OIL SPILL by the OIL RIG           )
       “DEEPWATER HORIZON” in the         )
       GULF OF MEXICO, on April 20, 2010  )                Section “J”
                                          )
This Document Relates to:                 )                Judge Barbier
Civil No. 2:10-cv-01497                   )                Magistrate Judge Shushan
__________________________________________)

                        CHEVRON U.S.A., INC.’S
        [PROPOSED] ANSWER, DEFENSES, AND AFFIRMATIVE DEFENSES

       Defendant-Intervenor Chevron, U.S.A. Inc. hereby answers and asserts its defenses and

affirmative defenses with respect to the Complaint for Declaratory and Injunctive Relief (the

“Complaint”). The numbered paragraphs of this Answer correspond to the numbered paragraphs

of the Complaint.

       The unnumbered paragraphs at the beginning of the Complaint represent a

characterization of the plaintiffs’ allegations and legal conclusions and therefore require no

response. To the extent any response is required, Chevron denies the allegations.

                               JURISDICTION AND VENUE

       1.      Denied.

       2.      Denied.

                                          PARTIES

       3.      Chevron is without sufficient information to admit or deny the allegations in

paragraph 3.

       4.      Chevron is without sufficient information to admit or deny the allegations in

paragraph 4.
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       5.      Chevron is without sufficient information to admit or deny the allegations in

paragraph 5.

       6.      Chevron is without sufficient information to admit or deny the allegations in

paragraph 6.

       7.      Denied.

       8.      Admitted

       9.      Chevron admits that Wilma Lewis is the Assistant Secretary for Land and

Minerals Management, Department of the Interior. The remainder of this paragraph represents a

characterization of the plaintiffs’ allegations and legal conclusions and therefore requires no

response. To the extent any response is required, Chevron denies the allegations.

       10.     Chevron admits that S. Elizabeth Birnbaum was formerly the Director of the

Minerals Management Service, but denies that she presently holds that position.

                  THE BLOWOUT SCENARIOS DISCLOSURE RULE
                 AND THE WORST CASE OIL SPILL RESPONSE RULE

       11.     This paragraph represents the plaintiffs’ characterization of certain administrative

regulations and, accordingly, no response is required. Chevron respectfully refers the Court to

those regulations for a complete and accurate statement of their contents. Chevron denies the

remaining allegations in paragraph 11.

       12.     This paragraph represents the plaintiffs’ characterization of certain administrative

rules and regulations and, accordingly, no response is required. Chevron respectfully refers the

Court to those rules and regulations for a complete and accurate statement of their contents, and

to the Department of the Interior’s April 1, 2008 Notice to Lessees (“NTL 2008-G04”). To the

extent any further response is required, Chevron denies the allegations.
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       13.     This paragraph represents the plaintiffs’ characterization of certain administrative

regulations and, accordingly, no response is required. Chevron respectfully refers the Court to

those regulations for a complete and accurate statement of their contents, and to NTL 2008-G04.

To the extent any further response is required, Chevron denies the allegations.

       14.     This paragraph represents the plaintiffs’ characterization of certain administrative

regulations and, accordingly, no response is required. Chevron respectfully refers the Court to

those regulations for a complete and accurate statement of their contents, and to NTL 2008-G04.

To the extent any further response is required, Chevron denies the allegations.

       15.     This paragraph represents the plaintiffs’ characterization of certain administrative

regulations and, accordingly, no response is required. Chevron respectfully refers the Court to

those regulations for a complete and accurate statement of their contents, and to NTL 2008-G04.

To the extent any further response is required, Chevron denies the allegations.

       16.     This paragraph represents the plaintiffs’ characterization of certain administrative

regulations and, accordingly, no response is required. Chevron respectfully refers the Court to

those regulations for a complete and accurate statement of their contents, and to NTL 2008-G04.

To the extent any further response is required, Chevron denies the allegations.

       17.     This paragraph represents the plaintiffs’ characterization of certain administrative

regulations and, accordingly, no response is required. Chevron respectfully refers the Court to

those regulations for a complete and accurate statement of their contents. To the extent any

further response is required, Chevron is without information sufficient to admit or deny the

allegations.

       18.     Denied.
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       19.      Chevron admits that Louisiana contains coastal wetlands and that such wetlands

are the source of an annual seafood harvest. Chevron is without sufficient information to admit

or deny the plaintiffs’ allegations regarding Acadian and Native American cultures. Chevron

denies the remaining allegations in paragraph 19.

       20.      Denied

       21.      Denied.

                                   IRREPARABLE INJURY

       22.      Chevron admits that, between 1960 and 1996, a number of blowouts occurred for

a variety of reasons in the Gulf of Mexico, and that the majority of such blowouts resulted in no

oil spills. Chevron denies the remaining allegations in paragraph 22.

       23.      Denied.

       24.      Denied.

       25.      Denied.

       26.      Denied.

       27.      Chevron admits that deepwater Gulf of Mexico wells are responsible for a large

portion of current Outer Continental Shelf production, that large reservoirs have been and

continue to be discovered, and that exploration and development decisions are based upon a

number of factors, including reservoir size.        Chevron denies the remaining allegations in

paragraph 27.

       28.      Denied.

       29.      Chevron admits that, on April 20, 2010, the exploration well being drilled by the

Deepwater Horizon approximately 45 miles off the coast of Louisiana suffered a blowout, that a

substantial amount of oil has been spilled (the rate and quantity of which has not yet been
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determined), and that some of that spilled oil has been recovered, burned, dispersed, or otherwise

removed. Chevron denies the remaining allegations in paragraph 29.

       30.     Chevron admits that response equipment for the Deepwater Horizon spill has

been brought in from various parts of the United States, which is consistent with preexisting

plans for such an event. Chevron denies the remaining allegations in paragraph 30.

       31.     Denied.

                              THE 2008 NOTICE TO LESSEES

       32.     Admitted.

       33.     This paragraph represents the plaintiffs’ characterization of NTL 2008-G04 and

certain administrative regulations and, accordingly, no response is required.            Chevron

respectfully refers the Court to NTL 2008-G04 and the relevant regulations for a complete and

accurate statement of their contents. To the extent any further response is required, Chevron

denies the allegations.

       34.     This paragraph represents the plaintiffs’ characterization of NTL 2008-G04 and,

accordingly, no response is required. Chevron respectfully refers the Court to NTL 2008-G04

for a complete and accurate statement of its contents. To the extent any further response is

required, Chevron denies the allegations.

       35.     This paragraph represents the plaintiffs’ characterization of NTL 2008-G04 and,

accordingly, no response is required. Chevron respectfully refers the Court to NTL 2008-G04

for a complete and accurate statement of its contents. To the extent any further response is

required, Chevron denies the allegations.

       36.     This paragraph represents the plaintiffs’ characterization of NTL 2008-G04 and,

accordingly, no response is required. Chevron respectfully refers the Court to NTL 2008-G04
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for a complete and accurate statement of its contents. To the extent any further response is

required, Chevron denies the allegations.

       37.     This paragraph represents the plaintiffs’ characterization of NTL 2008-G04 and,

accordingly no response is required. Chevron respectfully refers the Court to NTL 2008-G04 for

a complete and accurate statement of its contents. To the extent any further response is required,

Chevron denies the allegations.

       38.     This paragraph represents the plaintiffs’ characterization of NTL 2008-G04 and,

accordingly, no response is required. Chevron respectfully refers the Court to NTL 2008-G04

for a complete and accurate statement of its contents.

       39.     Denied.

                                            COUNT I

   THE NOTICE TO LESSEES WAS AN AMENDMENT OF AN ADMINISTRATIVE
  RULE THAT DID NOT COMPLY WITH THE RULEMAKING REQUIREMENT OF
                THE ADMINISTRATIVE PROCEDURE ACT

       40.     This paragraph represents the plaintiffs’ characterization of the Administrative

Procedure Act (“APA”) and, accordingly, no response is required. Chevron respectfully refers

the Court to the APA for a complete and accurate statement of its contents. To the extent any

further response is required, Chevron denies the allegations.

       41.     This paragraph represents the plaintiffs’ characterization of the APA and,

accordingly, no response is required. Chevron respectfully refers the Court to the APA for a

complete and accurate statement of its contents. To the extent any further response is required,

Chevron denies the allegations.

       42.     Chevron admits that NTL 2008-G04 was not published in the Federal Register.

Chevron denies the remaining allegations in paragraph 42.

       43.     Denied.
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       44.     Denied.

                                           COUNT II

   THE NOTICE TO LESSEES WAS ISSUED IN VIOLATION OF THE NATIONAL
                    ENVIRONMENTAL POLICY ACT

       45.     This paragraph represents the plaintiffs’ characterization of the National

Environmental Policy Act (“NEPA”) and its implementing regulations and, accordingly, no

response is required. Chevron respectfully refers the Court to NEPA and its implementing

regulations for a complete and accurate statement of their contents. To the extent any further

response is required, Chevron denies the allegations.

       46.     This paragraph represents the plaintiffs’ characterization of NEPA and its

implementing regulations and, accordingly, no response is required. Chevron respectfully refers

the Court to NEPA and its implementing regulations for a complete and accurate statement of

their contents. To the extent any further response is required, Chevron denies the allegations.

       47.     This paragraph represents the plaintiffs’ characterization of NEPA and its

implementing regulations and, accordingly, no response is required. Chevron respectfully refers

the Court to NEPA and its implementing regulations for a complete and accurate statement of

their contents. To the extent any further response is required, Chevron denies the allegations.

       48.     This paragraph represents the plaintiffs’ characterization of NEPA, its

implementing regulations, and certain executive orders issued pursuant to NEPA and its

regulations and, accordingly, no response is required. Chevron respectfully refers the Court to

NEPA, its implementing regulations, and the executive orders for a complete and accurate

statement of their contents. To the extent any further response is required, Chevron denies the

allegations.
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       49.     This paragraph represents plaintiff’s characterization of NEPA and its

implementing regulations and, accordingly, no response is required. Chevron respectfully refers

the Court to NEPA and its implementing regulations for a complete and accurate statement of

their contents. To the extent any further response is required, Chevron denies the allegations.

       50.     Denied.

                                     PRAYER FOR RELIEF

       The prayer for relief contains characterizations of the plaintiffs’ legal conclusions and

therefore requires no response. To the extent any response is required, Chevron denies the

allegations and further denies that the plaintiff is entitled to any relief whatsoever.



                CHEVRON’S DEFENSES AND AFFIRMATIVE DEFENSES

       1.      This Court lacks subject matter jurisdiction over some or all of the plaintiffs’

claims for reasons including that subparts (c)(2) and (4) of 43 U.S.C. § 1349 vest exclusive

jurisdiction over the plaintiffs’ claims in an appropriate federal court of appeals.

       2.      Venue is not proper in this Court.

       3.      The plaintiffs’ claims are moot, are not ripe, and/or are otherwise non-justiciable.

       4.      The plaintiffs lack standing for reasons including that (1) they have not suffered

any legally cognizable injury, (2) they have failed to comply with the jurisdictional prerequisites

of 43 U.S.C. § 1349(c)(3), and (3) they have failed to comply with the jurisdictional prerequisites

of 43 U.S.C. § 1349(a).

       5.      The plaintiffs have failed to state a claim upon which relief may be granted.

       6.      The plaintiffs have failed to exhaust administrative remedies.
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       7.      The plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of

limitations or repose.

       8.      The plaintiffs’ claims are barred, in whole or in part, by the doctrines of laches,

waiver, and/or estoppel.

       9.      The plaintiffs are not entitled to any of the injunctive relief requested in the

Complaint because the hardship that would be imposed by such relief is greatly disproportionate

to any hardship that the plaintiffs or those they purport to represent might suffer in its absence.

       10.     The plaintiffs are not entitled to any of the injunctive relief requested in the

Complaint because such relief is not in the public interest.

       11.     The relief sought by plaintiffs would require the government to take action that is

arbitrary, capricious, and contrary to law.

       12.     The relief sought by plaintiffs would require the Court to step outside the proper

judicial role and to deny the relevant administrative agencies appropriate deference in

interpreting their own administrative policies, rules, and regulations.

       13.     The plaintiffs’ claims are barred, in whole or in part, by the doctrines of res

judicata and/or collateral estoppel.

       14.     The plaintiffs’ claims are barred because there has been insufficient service of

process.

       15.     Chevron hereby adopts and incorporates by reference any and all other defenses

asserted, or that may hereafter be asserted, by any other defendant to the extent such defense may

be applicable to Chevron.
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       WHEREFORE, Chevron prays that this Court deny the plaintiffs’ request for declaratory,

injunctive, and other relief, dismiss the Complaint with prejudice, and grant such further relief as

the Court deems appropriate.



Date: August 26, 2010                         Respectfully submitted,

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